                                                           Case 2:18-cv-01919-RFB-CWH Document 19 Filed 12/07/18 Page 1 of 3



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                                                      10                              UNITED STATES DISTRICT COURT
                                                      11                                      DISTRICT OF NEVADA
                                                      12
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                    Las Vegas, Nevada 89169




                                                           RICHARD ZEITLIN, ADVANCED                       Case No.: 2:18-cv-01919-RFB-CWH
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                                                           TELEPHONY CONSULTANTS, MRZ
                               L.L.P.




                                                      15   MANAGEMENT, LLC, DONOR                          STIPULATION AND ORDER TO
                                                           RELATIONS, LLC, TPFE, INC., AMERICAN            EXTEND REPLY DEADLINE TO
                                                      16   TECHNOLOGY SERVICES, COMPLIANCE                 DECEMBER 14, 2018
                                                           CONSULTANTS, CHROME BUILDERS
                                                      17   CONSTRUCTION, INC., and UNIFIED                 (FIRST REQUEST)
                                                           DATA SERVICES,
                                                      18
                                                                                Plaintiffs,
                                                      19
                                                           v.
                                                      20
                                                           BANK OF AMERICA, N.A., and JOHN and
                                                      21   JANE DOES 1-100,

                                                      22                        Defendants.

                                                      23          Pursuant to Local Rule 7-1, Plaintiffs Richard Zeitlin; Advanced Telephony Consultants;
                                                      24   MRZ Management, LLC; Donor Relations, LLC; TPFE, Inc.; American Technology Services;
                                                      25   Compliance Consultants; Chrome Builders Construction, Inc.; and Unified Data Services (the
                                                      26   “Plaintiffs”) and Defendant Bank of America, N.A. (“BANA”), by and through their respective
                                                      27   undersigned counsel of record, submit this Stipulation and Proposed Order for a one week
                                                      28   extension of BANA’s deadline to file its Reply to Plaintiffs’ Response to Defendant’s Motion to
                                                           Case 2:18-cv-01919-RFB-CWH Document 19 Filed 12/07/18 Page 2 of 3



                                                       1   Dismiss (ECF No. 17) (the “Response”) from December 7, 2018 to December 14, 2018.
                                                       2          Plaintiffs filed their Complaint in this action on October 5, 2018. BANA filed its Motion
                                                       3   to Dismiss the Complaint on November 16, 2018. Plaintiffs filed the Response on November 30,
                                                       4   2018. BANA’s deadline to file its Reply to the Response is currently December 7, 2018.
                                                       5          This is the Parties’ first request for an extension of BANA’s time to file its Reply to the
                                                       6   Response and is not intended to cause any delay or prejudice to any party. The reason for the
                                                       7   extension is to give BANA time to evaluate and respond to the arguments set forth in the
                                                       8   Response.
                                                       9          IT IS HEREBY STIPULATED AND AGREED by and between the Parties that the time
                                                      10   for BANA to file its Reply to the Response is extended to and through December 14, 2018.
                                                      11   Dated: December 4, 2018                            Dated: December 5, 2018

                                                      12       THE BERNHOFT LAW FIRM, S.C.                        SNELL & WILMER L.L.P.
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                    Las Vegas, Nevada 89169
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                                                           By: /s/ Thomas E. Kimble                           By: /s/ Kiah Beverly-Graham
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                                                               Thomas E. Kimble, Esq.                             Amy F. Sorenson (NV Bar 12495)
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                                                               Attorneys for Plaintiffs, pro hac vice
                                                      18                                                          Attorneys for Bank of America, N.A.
                                                      19

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                                                      22
                                                                                                         ORDER
                                                      23

                                                      24                                                 IT IS SO ORDERED:
                                                      25
                                                                                                        ________________________________
                                                      26                                                  UNITED STATES
                                                                                                        RICHARD         MAGISTRATE
                                                                                                                  F. BOULWARE,  II JUDGE
                                                      27                                                UNITED STATES DISTRICT JUDGE
                                                                                                         DATED:
                                                      28                                                DATED this 7th day of December, 2018.


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                                                       1                                   CERTIFICATE OF SERVICE
                                                       2          I hereby certify that on this date, I electronically filed the foregoing STIPULATION
                                                       3   AND ORDER TO EXTEND REPLY DEADLINE TO DECEMBER 14, 2018 with the Clerk
                                                       4   of the Court for the U. S. District Court, District of Nevada by using the Court’s CM/ECF system.
                                                       5   Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
                                                       6          DATED: December 5, 2018
                                                       7
                                                                                                        /s/ Lara J. Taylor
                                                       8                                               An Employee of Snell & Wilmer L.L.P.

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                               L.L.P.




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